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                                                                       15                             UNITED STATES DISTRICT COURT
                                                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                                                       16
                                                                                                                SAN JOSE DIVISION
                                                                       17
                                                                            FEDERAL TRADE COMMISSION                     Case No. 5:22-CV-04325-EJD
                                                                       18
                                                                                   Plaintiff,                            NON-PARTY BYTEDANCE INC.’S
                                                                       19                                                STATEMENT IN SUPPORT OF SEALING
                                                                            v.                                           CONFIDENTIAL MATERIAL FILED BY
                                                                       20                                                DEFENDANTS PROVISIONALLY UNDER
                                                                            META PLATFORMS, INC., et al.                 SEAL [ECF 443] [L.R. 7-11 and 79-5(f)]
                                                                       21
                                                                                   Defendants.
                                                                       22

                                                                       23

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                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                               Case No. 5:22-CV-04325
                                                                            STATEMENT
                                                                             Case 5:22-cv-04325-EJD Document 461 Filed 12/13/22 Page 2 of 6


                                                                        1           Pursuant to the Administrative Motion to Consider Whether Another Party’s Material

                                                                        2   Should be Sealed filed by Defendants Meta Platforms, Inc. (“Meta”) and Within Unlimited, Inc.

                                                                        3   (collectively, “Defendants”) pursuant to Civil Local Rules 7-11 and 79-5(f) (ECF No. 443), Non-

                                                                        4   Party ByteDance Inc. (“ByteDance”) respectfully requests that the Court maintain under seal its

                                                                        5   confidential information identified below. In particular, ByteDance requests that the Court

                                                                        6   maintain under seal the following documents included on Defendants’ Third Amended Exhibit

                                                                        7   List:

                                                                        8
                                                                                                             Portion(s) to Maintain
                                                                        9      Document                                                       Basis for Sealing Request
                                                                                                             Under Seal
                                                                       10      Third Amended Exhibit         Exhibit DX1262 Description       This portion of the Third
                                                                               List                                                           Amended Exhibit List
                                                                       11                                                                     contains highly confidential
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                                                                                                                                              and non-public information
                                 TEL 415.490.2000 · FAX 415.490.2001




                                                                       12                                                                     about ByteDance’s product
                                      SAN FRANCISCO, CA 94105




                                                                                                                                              development and business
                                                                       13
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                                                                                                                                              strategies. Legitimate privacy
                                                                       14                                                                     interests warrant the sealing
                                                                                                                                              of this highly confidential
                                                                       15                                                                     information, the disclosure of
                                                                                                                                              which would cause injury to
                                                                       16                                                                     ByteDance that could not be
                                                                                                                                              avoided through any less
                                                                       17
                                                                                                                                              restrictive alternative to
                                                                       18                                                                     sealing.
                                                                               Third Amended Exhibit         Exhibit DX1263 Description       This portion of the Third
                                                                       19      List                                                           Amended Exhibit List
                                                                                                                                              contains highly confidential
                                                                       20                                                                     and non-public information
                                                                       21                                                                     about ByteDance’s product
                                                                                                                                              development and internal
                                                                       22                                                                     evaluations of potential
                                                                                                                                              business strategies.
                                                                       23                                                                     Legitimate privacy interests
                                                                                                                                              warrant the sealing of this
                                                                       24                                                                     highly confidential
                                                                       25                                                                     information, the disclosure of
                                                                                                                                              which would cause injury to
                                                                       26                                                                     ByteDance that could not be
                                                                                                                                              avoided through any less
                                                                       27                                                                     restrictive alternative to
                                                                                                                                              sealing.
                                                                       28
                                                                                                                             2
                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                                      Case No. 5:22-CV-04325
                                                                            STATEMENT
                                                                             Case 5:22-cv-04325-EJD Document 461 Filed 12/13/22 Page 3 of 6


                                                                        1     Third Amended Exhibit     Exhibit DX1264 Description   This portion of the Third
                                                                              List                                                   Amended Exhibit List
                                                                        2                                                            contains highly confidential
                                                                        3                                                            and non-public information
                                                                                                                                     about ByteDance’s potential
                                                                        4                                                            business strategies.
                                                                                                                                     Legitimate privacy interests
                                                                        5                                                            warrant the sealing of this
                                                                                                                                     highly confidential
                                                                        6                                                            information, the disclosure of
                                                                        7                                                            which would cause injury to
                                                                                                                                     ByteDance that could not be
                                                                        8                                                            avoided through any less
                                                                                                                                     restrictive alternative to
                                                                        9                                                            sealing.
                                                                              Third Amended Exhibit     Exhibit DX1265 Description   This portion of the Third
                                                                       10
                                                                              List                                                   Amended Exhibit List
                                                                       11                                                            contains highly confidential
AXINN, VELTROP & HARKRIDER LLP




                                                                                                                                     and non-public information
                                 TEL 415.490.2000 · FAX 415.490.2001




                                                                       12                                                            about ByteDance’s business
                                                                                                                                     strategies. Legitimate privacy
                                      SAN FRANCISCO, CA 94105




                                                                       13                                                            interests warrant the sealing
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                                                                                                                                     of this highly confidential
                                                                       14
                                                                                                                                     information, the disclosure of
                                                                       15                                                            which would cause injury to
                                                                                                                                     ByteDance that could not be
                                                                       16                                                            avoided through any less
                                                                                                                                     restrictive alternative to
                                                                       17                                                            sealing.
                                                                       18     Third Amended Exhibit     Exhibit DX1266 Description   This portion of the Third
                                                                              List                                                   Amended Exhibit List
                                                                       19                                                            contains highly confidential
                                                                                                                                     and non-public information
                                                                       20                                                            about ByteDance’s product
                                                                                                                                     development, business
                                                                       21                                                            strategies and internal
                                                                       22                                                            evaluations. Legitimate
                                                                                                                                     privacy interests warrant the
                                                                       23                                                            sealing of this highly
                                                                                                                                     confidential information, the
                                                                       24                                                            disclosure of which would
                                                                                                                                     cause injury to ByteDance
                                                                       25
                                                                                                                                     that could not be avoided
                                                                       26                                                            through any less restrictive
                                                                                                                                     alternative to sealing.
                                                                       27     Third Amended Exhibit     Exhibit DX1267 Description   This portion of the Third
                                                                              List                                                   Amended Exhibit List
                                                                       28                                                            contains highly confidential
                                                                                                                      3
                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                             Case No. 5:22-CV-04325
                                                                            STATEMENT
                                                                             Case 5:22-cv-04325-EJD Document 461 Filed 12/13/22 Page 4 of 6


                                                                        1                                                                         and non-public information
                                                                                                                                                  about the status of
                                                                        2                                                                         ByteDance’s product
                                                                        3                                                                         development. Legitimate
                                                                                                                                                  privacy interests warrant the
                                                                        4                                                                         sealing of this highly
                                                                                                                                                  confidential information, the
                                                                        5                                                                         disclosure of which would
                                                                                                                                                  cause injury to ByteDance
                                                                        6                                                                         that could not be avoided
                                                                        7                                                                         through any less restrictive
                                                                                                                                                  alternative to sealing.
                                                                        8      Third Amended Exhibit            Exhibit DX1268 Description        This portion of the Third
                                                                               List                                                               Amended Exhibit List
                                                                        9                                                                         contains highly confidential
                                                                                                                                                  and non-public information
                                                                       10
                                                                                                                                                  about ByteDance’s potential
                                                                       11                                                                         business strategies.
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                                                                                                                                                  Legitimate privacy interests
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                                                                       12                                                                         warrant the sealing of this
                                                                                                                                                  highly confidential
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                                                                       13                                                                         information, the disclosure of
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                                                                                                                                                  which would cause injury to
                                                                       14
                                                                                                                                                  ByteDance that could not be
                                                                       15                                                                         avoided through any less
                                                                                                                                                  restrictive alternative to
                                                                       16                                                                         sealing.
                                                                       17

                                                                       18       I.      ARGUMENT

                                                                       19            The Federal Trade Commission (“FTC”) and Meta subpoenaed non-party ByteDance in

                                                                       20   the above-referenced matter. ByteDance produced certain information in response to those

                                                                       21   subpoenas, and, as permitted by this Court’s August 24, 2022 Protective Order, ECF No. 80,

                                                                       22   designated certain competitively sensitive information as highly confidential. ByteDance

                                                                       23   understands that Defendants have publicly referenced the content of highly confidential

                                                                       24   documents in the Third Amended Exhibit List, and respectfully requests that such information

                                                                       25   remain sealed because the harm to ByteDance of its public disclosure outweighs the public’s

                                                                       26   interest in accessing it.

                                                                       27            While the public enjoys a right to inspect and copy judicial records, this right is not

                                                                       28   absolute. Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978). Courts will seal
                                                                                                                                4
                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                                          Case No. 5:22-CV-04325
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                                                                        1   information upon a showing of “compelling reasons” to override the presumption of public

                                                                        2   access. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016). One

                                                                        3   such compelling reason is where the commercial business information at issue is sought to be

                                                                        4   used as a “source[] of business information that might harm a litigant’s competitive standing.”

                                                                        5   Nixon, 435 U.S. at 598; see also In re Electronic Arts, 298 F. App’x 568, 569 (9th Cir. 2008)

                                                                        6   (same); Cont'l Auto. Sys., Inc. v. Avanci, LLC, No. 19-CV-02520-LHK, 2019 WL 6612012, at *4

                                                                        7   (N.D. Cal. Dec. 5, 2019) (approving the sealing of information “prepared in furtherance of its

                                                                        8   internal business development” because “public disclosure would give CBRE’s competitors” an

                                                                        9   “unfair advantage”).

                                                                       10          Compelling reasons exist to keep the highly confidential information referenced in

                                                                       11   Defendants’ Third Amended Exhibit List sealed. As noted above, the ByteDance information
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                                                                       12   referenced therein contains non-public information about ByteDance’s business development
                                      SAN FRANCISCO, CA 94105




                                                                       13   strategies and product development. This information has never been made available to the
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                                                                       14   public. See Asetek Danmark A/S v. CMI USA, Inc., No. 13-CV-00457-JST, 2015 WL 4116738, at

                                                                       15   *2 (N.D. Cal. July 7, 2015) (approved sealing of confidential business information that had not

                                                                       16   been made publicly available and would cause competitive harm if disclosed). If the information

                                                                       17   in Defendants’ Third Amended Exhibit List were disclosed, ByteDance’s competitors would

                                                                       18   have an unfair advantage allowing them to replicate ByteDance’s potential business plans and

                                                                       19   circumvent the time and resources necessary to develop their own practices and strategies. See

                                                                       20   Synchronoss Techs., Inc. v. Dropbox Inc., No. 16-CV-00119-HSG, 2018 WL 6002319, at *3

                                                                       21   (N.D. Cal. Nov. 15, 2018) (agreeing that sealing confidential business information “prevent[ed]

                                                                       22   competitors from gaining insight into the parties’ business model and strategy”) (citing In re

                                                                       23   Qualcomm Litig., No. 3:17-cv-0108-GPC-MDD, 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8,

                                                                       24   2017)). Indeed, this Court confirmed public disclosure that could result in an unfair economic

                                                                       25   and competitive advantage to competitors supports a “particularized showing of specific

                                                                       26   prejudice or harm.” Synchronoss Techs., 2018 WL 6002319, at *1 (internal citation omitted).
                                                                       27

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                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                                       Case No. 5:22-CV-04325
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                                                                        1      Finally, Defendants’ proposed redactions are narrowly tailored to the specific portions of the

                                                                        2   Third Amended Exhibit List that reflect ByteDance’s highly confidential information, and thus

                                                                        3   do not unnecessarily limit the public’s general right to inspect public records.

                                                                        4      II.     CONCLUSION

                                                                        5      Compelling reasons justify ByteDance’s narrow request for sealing ByteDance’s highly

                                                                        6   confidential business information contained in Defendants’ Third Amended Exhibit List.

                                                                        7   ByteDance respectfully requests that this Court grant Defendants’ Administrative Motion and

                                                                        8   maintain under seal the materials identified above.

                                                                        9   Date: December 13, 2022                       Respectfully submitted,
                                                                       10
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                                                                            BYTEDANCE INC. CIV. L. R. 79-5(F)(3)                                        Case No. 5:22-CV-04325
                                                                            STATEMENT
